                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION
UNITED STATES OF AMERICA,         )
                    Plaintiff,    )
                                  )
v.                                )             No. 07-00007-02/03-CR-W-FJG
                                  )
PHILIP F. CARDARELLA and          )
KATHERYN J. SHIELDS,              )
                      Defendants. )

                                        ORDER
      Currently pending before the Court are Defendants Cardarella and Shields’ Motion

to Dismiss the Indictment (Doc. No. 71); defendants Cardarella and Shields’ Motion to

Dismiss the Indictment Due to Selective and Vindictive Prosecution (Doc. No. 73); and

defendants Cardarella and Shields’ Motion to Dismiss the Indictment Due to

Unconstitutional Appointment of the Interim United States Attorney (Doc. No. 74).

      On May 14, 2007, United States Magistrate John T. Maughmer entered a Report

and Recommendation (Doc. No. 100) which recommended denying the above-mentioned

motions. On May 24, 2007, defendants Cardaralla and Shields filed objections to the

Report and Recommendation (Doc. No. 129). The Court, after independent review of the

record and applicable law, adopts and incorporates by reference herein, the magistrate’s

findings and conclusions. Therefore, the Court finds that defendants’ Motion to Dismiss the

Indictment (Doc. No. 71);defendants’ Motion to Dismiss the Indictment Due to Selective

and Vindictive Prosecution (Doc. No. 73); and defendants’ Motion to Dismiss the Indictment

Due to Unconstitutional Appointment of the Interim United States Attorney (Doc. No. 74)

must be denied.

      Accordingly, it is



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       ORDERED that the magistrate’s findings and conclusions are hereby adopted and

incorporated herein by reference. It is further

       ORDERED that defendants’ Motion to Dismiss the Indictment (Doc. No.

71);defendants’ Motion to Dismiss the Indictment Due to Selective and Vindictive

Prosecution (Doc. No. 73); and defendants’ Motion to Dismiss the Indictment Due to

Unconstitutional Appointment of the Interim United States Attorney (Doc. No. 74) are

DENIED.



Date: 5/29/07                                     S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                             Fernando J. Gaitan, Jr.
                                                  Chief United States District Judge




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